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         ORDERED in the Southern District of Florida on June 8, 2022.



                                                              Peter D. Russin, Judge
                                                              United States Bankruptcy Court
_____________________________________________________________________________
                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION

         In re:
                                                               Case No. 22-13983-PDR
         Annetta McCalla and
         Curtis McNeal,
                                                               Chapter 13
                  Debtors.
                                                    /

                          ORDER GRANTING MOTION TO EXTEND TIME
                              TO FILE REQUIRED INFORMATION

                  The pro se Debtors’ required documents were due on June 3, 2022. (Doc. 7). On

         June 6, 2022, the Debtors filed some documents and requested an extension of time

         to file any remaining required documents. Accordingly, the Court ORDERS that the

         Motion (Doc. 17) is GRANTED. The documents filed on June 6, 2022, are deemed

         timely filed, and the deadline to file any remaining required but unfiled documents

         is extended to June 15, 2022.

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                                        Copies to all parties in interest.
